Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 1 of 26 PageID# 34538




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION

   SONY MUSIC ENTERTAINMENT, et al.,
                  Plaintiffs,
                                         Civil No. 1:18-cv-950 (LO / JFA)
               v.

   COX COMMUNICATIONS, INC, et al.,

                    Defendants.


   COX’S REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF ITS MOTION
   FOR RELIEF FROM THE JUDGMENT UNDER RULE 60(B)(3) AND REQUEST FOR
                  INDICATIVE RULING UNDER RULE 62.1



                                  PUBLIC VERSION
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 2 of 26 PageID# 34539




                                                     TABLE OF CONTENTS

                                                                                                                                              Page

  INTRODUCTION .......................................................................................................................... 1

  ARGUMENT .................................................................................................................................. 2

  I.        Cox’s Motion is Timely ...................................................................................................... 2

  II.       Cox Has Amply Demonstrated Plaintiffs’ Repeated Acts of Misconduct and
            Misrepresentations .............................................................................................................. 5

            A.         Plaintiffs’ Pre-Trial Misconduct is Clear ................................................................ 5

                       1.         Plaintiffs Violated Judge Anderson’s January 25, 2019 Order................... 5

                       2.         Plaintiffs’ Initial Discovery Violation Paved the Way for Their
                                  Further Pre-Trial Misconduct ..................................................................... 8

                                  a.         Bahun’s Statements, Filed by Plaintiffs, Were Misleading. ........... 8

                                  b.         Plaintiffs Falsely Represented that There Were No
                                             Subsequent Efforts to Validate the MarkMonitor
                                             Spreadsheet. .................................................................................. 10

                                  c.         Plaintiffs Wrongfully Concealed the PCAP Files and the
                                             Hash Report. ................................................................................. 11

                                  d.         Plaintiffs Wrongfully Concealed the 2016 Audible Magic
                                             Data. .............................................................................................. 12

            B.         Plaintiffs’ Elicited False and Misleading Testimony at Trial ............................... 12

                       1.         Plaintiffs’ Expert Provided Misleading Testimony, Which
                                  Plaintiffs Failed to Correct ........................................................................ 13

                       2.         Bahun Falsely Testified Regarding the Origin of the Hard Drive
                                  Files ........................................................................................................... 13

  III.      Plaintiffs’ Actions Clearly Prevented Cox from Fully Presenting its Case at Trial ......... 14

            A.         Plaintiffs’ About-Face in Charter Demonstrates the Prejudice to Cox from
                       Their Misconduct. ................................................................................................. 14

            B.         Plaintiffs’ Misconduct Resulted in the Admission of Evidence Elemental
                       to their Claims ....................................................................................................... 15




                                                                          i
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 3 of 26 PageID# 34540




                       1.         Plaintiffs’ Misconduct Led to the Preclusion of an Alternate
                                  Version of the MarkMonitor Spreadsheet................................................. 15

                       2.         Plaintiffs’ Misconduct Led to the Admission of the Hard Drive .............. 16

                       3.         Cox Is Not Using Rule 60(b)(3) as a Tool for Reconsideration ............... 17

  IV.       Cox Presented Meritorious Defenses at Trial ................................................................... 18

  V.        Justice Should Prevail Over Finality................................................................................. 19

  VI.       Exercising the Court’s Authority to Order Discovery is Warranted................................. 20

  CONCLUSION ............................................................................................................................. 20




                                                                      ii
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 4 of 26 PageID# 34541




                                               TABLE OF AUTHORITIES

                                                                                                                             Page(s)

  Cases

  Aldridge v. Corp. Mgmt. Inc.,
     2021 WL 1521697 (S.D. Miss. Apr. 16, 2021)........................................................................20

  Cent. Operating Co. v. Util. Workers of Am.,
     491 F.2d 245 (4th Cir. 1974) .....................................................................................................4

  Columbia Commc’ns Corp. v. EchoStar Satellite Corp.,
     2 Fed. App’x 360 (4th Cir. 2001) ............................................................................................19

  Consol. Masonry & Fireproofing, Inc. v. Wagman Constr. Corp.,
     383 F.2d 249 (4th Cir. 1967) .....................................................................................................4

  Fharmacy Recs. v. Nassar,
     2010 WL 11545040 (E.D. Mich. Feb. 18, 2010) .....................................................................20

  Holland v. Virginia Lee Co.,
     188 F.R.D. 241 (W.D. Va. 1999) ...............................................................................................4

  Ind. Inv. Protective League v. Touche Ross & Co.,
      607 F.2d 530 (2d Cir. 1978).....................................................................................................19

  Kincer v. First Am. Nat’l Bank,
     2004 WL 57085 (W.D. Va. Jan. 12, 2004) ................................................................................4

  Marathon Res. Mgmt. Grp., LLC v. C. Cornell, Inc.,
    2020 WL 6370987 (E.D. Va. Oct. 29, 2020) ...........................................................................19

  McLawhorn v. John W. Daniel & Co., Inc.,
    924 F.2d 535 (4th Cir. 1991) .....................................................................................................4

  Moses v. Joyner,
    815 F.3d 163 (4th Cir. 2016) .....................................................................................................4

  United States v. Villarini,
     238 F.3d 530 (4th Cir. 2001) ...................................................................................................19

  Zahariev v. Hartford Life & Accident Ins. Co.,
     2021 WL 1431389 (D.S.C. Mar. 16, 2021) ...............................................................................4




                                                                   iii
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 5 of 26 PageID# 34542




                                          INTRODUCTION

         Plaintiffs’ opposition leans heavily on the proposition that their discovery misconduct and

  misrepresentations do not matter because they would not have affected the trial’s outcome. That

  is self-interested speculation. Plaintiffs cannot know how the jury would have reacted if it had

  been told that Plaintiffs’ infringement evidence was created after the fact. Indeed, Plaintiffs’ own

  actions convey their fear that this information would have fatally undermined their case; otherwise,

  they would not have gone to such lengths to conceal it. And if there were any doubt about this, it

  is now dispelled by Plaintiffs’ decision to change their strategy in Charter to abandon reliance on

  the weak evidence that they used and misrepresented in this Court.

         To further bolster their blithe claim of “no harm, no foul,” Plaintiffs contort the factual

  record to hide their misconduct and minimize its impact. Plaintiffs also attempt to distract the Court

  from their actions by implying that they should be excused as mere sharp practices, and that Cox

  and its lawyers should have caught them at it. But “cheating fairly” is not a valid defense, and the

  Court should not countenance it.

         As the record before the Court clearly reflects, Plaintiffs simply have no defense to the

  false testimony they elicited. MarkMonitor’s witness Sam Bahun testified that the so-called

  “infringing files” were placed on the Hard Drive at issue in 2015 or 2016. He was then asked when

  those same files were first downloaded and stored in MarkMonitor’s system. As opposed to saying

  2015 or 2016, he testified that it was done years earlier, before the notices were sent. He knew that

  was false, as Plaintiffs now readily acknowledge that MarkMonitor failed to retain those earlier

  files—a fact they concealed from Cox throughout this case. Bahun’s answer to the point-blank

  question concealed the reality that Plaintiffs’ core evidence was re-created years after the alleged

  infringement as Cox had suspected and claimed.
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 6 of 26 PageID# 34543




         Given the indefensibility of this testimony, the rest of Plaintiffs’ arguments collapse. Bahun

  was only in a position to misrepresent the Hard Drive files because Plaintiffs diligently concealed

  the 2016 SOW that led to its creation throughout discovery. Plaintiffs’ feeble excuse for

  withholding the 2016 SOW—that they had no obligation to produce it because it was not called

  for or relevant to the reliability of the MarkMonitor system at issue—strains credulity, lacks any

  basis in fact, and starkly reveals their true motive: to produce only the 2016 evidence that helped

  their case and deliberately conceal the 2016 evidence that undermined it. Plaintiffs’ explanations

  for their other misrepresentations are mere efforts to muddy the waters through highly misleading

  interpretations of the record that do not hold up.

         Cox has put forward a clear record of misconduct, despite Plaintiffs’ best efforts to distort

  it. Relief under Rule 60 is warranted.

                                             ARGUMENT

  I.     Cox’s Motion is Timely

         The bases for Cox’s motion continue to develop through present, rendering its filing before

  Rule 60(c)(1)’s one-year deadline timely. Significantly, in Charter, fact and expert depositions

  only concluded on August 6 and October 15, 2021, respectively (Charter ECF 490 & 581);

  restricted versions of the parties’ summary judgment and Daubert motions were filed between

  November 15, 2021 and January 19, 2022 (Charter ECF 547, 549-561, 600-607, 609-614, 641-

  653, and 655); and heavily redacted public versions of certain of these motions were filed on

  November 29, 2021 and February 2, 2022, respectively, (Charter ECF 590 & 684). With this

  motion, Cox seeks certain of these Charter restricted materials to demonstrate the scope of

  Plaintiffs’ misconduct and the prejudice to Cox. Mot. at 1, n.2, 30. Cox waited to intervene in

  Charter until September 2021, which, as it explained to the Charter court, was “timed … near the

  end of discovery … after most discovery issues were litigated[] so that it could avoid burdening

                                                       2
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 7 of 26 PageID# 34544




  the parties and court with piecemeal requests to modify the protective order.” Ex. 32 (Charter ECF

  541) at 4. The Charter court only denied that motion on November 21, 2021, directing Cox to

  pursue its request with this Court. Ex. 1. Cox brought this motion less than five weeks later, an

  entirely reasonable time period given the breadth of the factual record before the Court.

          Further, and significantly, on November 29, 2021, less than a month before Cox filed its

  motion, Plaintiffs filed a public version of their Charter summary judgment motion. Ex. 31

  (Charter ECF 590-1).1 In that document, Plaintiffs revealed that they had abandoned the

  MarkMonitor Spreadsheet—a centerpiece of their proof of direct infringement in this case and a

  subject of this motion—because, as Cox sets forth in this motion, that document does not reflect

  verifications of any files that still exist, contrary to Plaintiffs’ trial narrative. Mot. at 10-12. Now,

  Plaintiffs are instead seeking to prove direct infringement in Charter by hiring more than a half

  dozen music experts to listen to or otherwise analyze the tens of thousands of files at issue. Ex. 31

  (Charter ECF 590-1), ¶¶ 14-15. As set forth below, infra at 14-15, this recent development alone

  demonstrates the materiality of Plaintiffs’ misconduct and prejudice to Cox.

          Plaintiffs ignore this significant post-judgment record and point to a November 9, 2020

  declaration from their outside litigation counsel as the claimed genesis of Cox’s Motion. Opp’n at

  14. However, in that partially redacted declaration, Plaintiffs’ counsel only explains that he

  directed MarkMonitor to download files in 2016 and that those files were placed on the Hard Drive.

  Ex. 15 (Oppenheim Declaration), ¶¶ 5, 9. The document does not contain the additional details

  disclosed in Plaintiffs’ subsequent public filings on which Cox relies in its motion. Exs. 14, 17,

  18, 20, 23, and 31; see also Ex. 33 (Charter ECF 684-58) at 3-4. Moreover, neither that declaration




  1
    Exhibits 1 to 31 are attached to Cox’s moving brief; Exhibits 32 to 36 are attached hereto. Cox
  refers to the exhibits attached to Plaintiffs’ opposition as “Pls.’ Ex. __”.
                                                     3
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 8 of 26 PageID# 34545




  nor the subsequent public filings contain any of the non-public discovery and other disclosures—

  made through January 2022—that Cox seeks through this motion.

         Plaintiffs essentially argue that Cox either should have prematurely filed its motion or

  unnecessarily filed serial motions. See Opp’n at 14, n.7. But Plaintiffs provide support for neither

  approach. Rather, “[w]hat constitutes a reasonable time will generally depend on the facts of each

  case,” and where a party “presents an adequate explanation” for any delay, it should be deemed

  timely. See Holland v. Virginia Lee Co., 188 F.R.D. 241, 249 (W.D. Va. 1999). Further, courts

  find that any prejudice to the non-movant may be “[a] major consideration” in determining the

  timeliness of a motion. Id. Here, Cox has accounted for the entire period from the entry of the

  judgment and Plaintiffs are silent on any prejudice from the timing of Cox’s filing. Finally,

  Plaintiffs’ cases are distinguishable and do not support a claim of untimeliness based on the highly

  involved post-judgment factual record before the Court. Opp’n at 13-14.2

         Cox marshaled an extensive factual record for the Court’s consideration—both on the

  merits of its Rule 60 motion and its request for discovery. Further, the record before the Court is

  more complete in light of the additional disclosures made by the parties and third parties in

  Charter, some of which occurred in the several months preceding Cox’s filing. Cox has established

  the timeliness of its motion.




  2
    See Moses v. Joyner, 815 F.3d 163, 166 (4th Cir. 2016) (movant waited 2.5 years to file despite
  being on “high alert” of the significance a change in law); Zahariev v. Hartford Life & Accident
  Ins. Co., 2021 WL 1431389, at *3 (D.S.C. Mar. 16, 2021) (movant violated court-imposed
  deadline for Rule 60 motions); Cent. Operating Co. v. Util. Workers of Am., 491 F.2d 245, 253
  (4th Cir. 1974)) (no “satisfactory explanation” for delay set forth in papers); McLawhorn v. John
  W. Daniel & Co., Inc., 924 F.2d 535, 538 (4th Cir. 1991) (same); Consol. Masonry & Fireproofing,
  Inc. v. Wagman Constr. Corp., 383 F.2d 249, 251 (4th Cir. 1967) (delay inexcusable when motion
  sought to vacate default judgment); Kincer v. First Am. Nat’l Bank, 2004 WL 57085, at *2 (W.D.
  Va. Jan. 12, 2004) (denying motion where evidence in support was always in movant’s
  possession).
                                                   4
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 9 of 26 PageID# 34546




  II.    Cox Has Amply Demonstrated Plaintiffs’ Repeated Acts of Misconduct and
         Misrepresentations

         A.      Plaintiffs’ Pre-Trial Misconduct is Clear

                 1.      Plaintiffs Violated Judge Anderson’s January 25, 2019 Order

         Plaintiffs make the feeble excuse that they were under no obligation to produce the 2016

  SOW, as it did not relate to the “program” at issue and post-dated the relevant time period. Opp’n

  at 10-11. That argument is truly shocking and fails multiple times over.

         First, Judge Anderson unequivocally ordered Plaintiffs to produce evidence of their

  “contractual obligation[s]” with MarkMonitor, irrespective of time period. The Court explained

  that “if [Plaintiffs] signed a contract with [MarkMonitor], if you have a written agreement, if you

  have an understanding … a letter agreement that says you’re going to do this, we will pay you this,

  you provide me with these services, these are your obligations, these are my obligations, that kind

  of agreement or description of the relationship between MarkMonitor and your clients,” then those

  documents had to be produced. Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 73:16-23. The Court’s order

  provides no basis for Plaintiffs to withhold the very agreement that resulted in the creation of the

  evidence they used to prove direct infringement.3

         Plaintiffs’ discovery violation is further evidenced by their own statements to Judge

  Anderson. In an effort to demonstrate the completeness of their proposed MarkMonitor-related

  production and to resist Cox’s additional requests, Plaintiffs’ counsel represented that they would

  be producing certain evidence created as the result of the then un-disclosed 2016 SOW. Plaintiffs

  characterized it as “the evidence that MarkMonitor has captured for purposes of the case,” which

  included “all the music” (the 2016 Hard Drive files) and “[d]ocuments to show the information



  3
    In their opposition, Plaintiffs ignore that Cox’s document request at issue was specifically
  directed at Plaintiffs’ “agents,” including the RIAA. See Mot. at 13, n.6.
                                                   5
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 10 of 26 PageID# 34547




   concerning the infringement of the copyrighted works in suit by their subscribers” (the

   MarkMonitor Spreadsheet). Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 68:14-20. Thus, Judge Anderson’s

   order clearly required production of the very agreement through which Plaintiffs generated a

   primary part of that evidence.

          Further, Plaintiffs’ interpretation of the colloquy with Judge Anderson regarding the

   “program at issue in this case” does not help their case, as the context plainly demonstrates that

   Plaintiffs were attempting to carve out from the order their agreements with MarkMontor for

   services unrelated to this case. Indeed, one of Plaintiffs’ primary objections to Cox’s discovery

   request was that they contract with MarkMonitor for services that they claimed have nothing to do

   with this case, such as website and trademark monitoring and notice programs that involve non-

   ISP targets like universities. Ex. 34 (Jan. 25, 2019 Hr’g Tr.) 65:21-66:6; Ex. 35 (ECF 86) at 17-

   18. Thus, counsel’s statement should not be read as anything more than a request to clarify the

   scope of the ordered production as to the other services for which Plaintiffs retained MarkMonitor.

   Plaintiffs’ post-hoc justification that the order was limited to “the Notice Program that put Cox on

   notice of specific instances of infringement by specific infringers” (Opp’n at 19-20), but somehow

   not directed at agreements related to re-gathering the very files they contend form the basis of

   those notices, is not supported by the record and should be rejected.

          Second, Plaintiffs appear to now claim that their required production of agreements with

   MarkMonitor was limited to the 2012-2014 time period. Opp’n at 10, 19. That is flatly wrong. At

   the hearing, after Plaintiffs’ counsel identified the several categories of documents that they would

   be producing for the 2012-2014 period, Judge Anderson stated: “I don’t see anything in here that

   talks about your agreement or relationship—documents sufficient to describe your relationship

   with MarkMonitor.” Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 69:7-9. Plaintiffs explained that they had



                                                    6
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 11 of 26 PageID# 34548




   originally offered to produce (though later rescinded) their agreements with MarkMonitor. Id.

   69:21-22. That offer had no time limitation. See Ex. 25 (Pls.’ Supp. Resp. & Obj. to Cox’s 1st

   RFPs) (as compared to other responses with time limitations, Plaintiffs’ agreement to produce their

   agreements with MarkMonitor did not have any). Plaintiffs explained that they would in fact agree

   to produce such agreements, which the Court then ordered without a time limitation.

          Third, Plaintiffs’ strained interpretation of Judge Anderson’s order falls apart for the

   additional reason that the single responsive document that they did produce was a 2018 litigation

   consulting agreement between their outside counsel Oppenheim + Zebrak LLP (“O+Z”) and

   MarkMonitor (the “2018 Consulting Agreement”). That agreement was executed more than four

   years after Plaintiffs sent any notices at issue and pertains not to




               . Ex. 29.

          Finally, while Plaintiffs initially offered to produce documents concerning the reliability

   of the MarkMonitor’s system used to generate the notices for the 2012-2014 period, Cox argued

   that “Plaintiffs’ proposed limitation would not capture analyses and the documents concerning

   them that were created before or after [2012-2014], which may also relate to the system(s) or any

   component(s) that were used to generate the notices sent to Cox.” Ex. 27 (ECF 75) at 19-20

   (emphasis added). Judge Anderson specifically ordered the production of “information beyond the

   2012-2014 range” regarding MarkMonitor’s “reliability or issues.” Ex. 26 (Jan. 25, 2019 Hr’g Tr.)

   74:19-24 (emphasis added).

          In their opposition, Plaintiffs claim that “Cox makes up from whole cloth that the 2016

   SOW was an audit or an investigation as to the reliability of MarkMonitor’s system,” arguing that



                                                   7
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 12 of 26 PageID# 34549




   the agreement only “pertained to downloading certain files in anticipation of litigation.” Opp’n at

   19. But Plaintiffs ignore that the 2016 SOW did not only require MarkMonitor to attempt to

   redownload all the files identified in Plaintiffs’ notices (because they had been deleted); it also

   required MarkMonitor and Audible Magic to reverify those downloads to ensure that they

   contained copies of Plaintiffs’ copyrighted works. Opp’n at 9-10. Yet in the version of the world

   that Plaintiffs presented at trial, such a reverification should not be necessary because (as Plaintiffs

   claim) they had already verified copies of these files as reflected in the MarkMonitor Spreadsheet.

   Opp’n at 15, 23; see also infra at 15-16 (Plaintiffs took the same position in seeking the preclusion

   of the alternate version of the MarkMonitor Spreadsheet). That re-verification was an audit of

   MarkMonitor’s notice program and responsive to Cox’s request and Judge Anderson’s order.

                  2.      Plaintiffs’ Initial Discovery Violation Paved the Way for Their
                          Further Pre-Trial Misconduct

          Plaintiffs quibble with whether Cox has demonstrated their pre-trial misconduct by “clear

   and convincing evidence.” Opp’n at 15. In so doing, they give short shrift to Cox’s detailed factual

   allegations either by proposing an alternate reading of the record, simply stating “not true,” or

   blaming Cox for not seeing through their obfuscation. But in each instance, Plaintiffs’ malfeasance

   is clear. Taken as a whole, it is overwhelming. Plaintiffs’ selective withholding of the 2016 SOW

   cleared the path for their pre-trial misconduct, that pre-trial misconduct cleared the path for false

   trial testimony, and all of this misconduct resulted in a $1 billion jury verdict.

                          a.      Bahun’s Statements, Filed by Plaintiffs, Were Misleading

          In prosecuting their case against Cox, Plaintiffs leaned heavily on Sam Bahun and filed

   declarations from him with nearly every significant pre-trial motion. In two particularly critical

   motions, Plaintiffs filed statements by him that were highly misleading.




                                                      8
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 13 of 26 PageID# 34550




           First, while Plaintiffs repeatedly point to the fact that the files on the Hard Drive had “2016

   metadata,” (Opp’n at 11, 12, 21, 25), Cox never disputed that, Mot. at 4, 6. Rather, that was one

   of the bases upon which Cox first sought to preclude the files. Id. at 4. In response to that effort,

   Plaintiffs did not state when the files were downloaded. Instead, they submitted a statement from

   Bahun that improperly concealed their origin. He testified that the Hard Drive contained

                             ” used for                                       which were those contained

   on the MarkMonitor Spreadsheet. Ex. 4 (ECF 538-1) Appx. 1, ¶¶ 18, 20 (emphasis added).

   Plaintiffs and Bahun did not disclose that, in fact, those files had been searched for, downloaded,

   and reverified in 2016, and that those verifications were destroyed.

           While Plaintiffs nevertheless claim that “Bahun’s statements were correct” (Opp’n at 19),

   that claim is based on their (disputed) assertion that the alleged verification data on the

   MarkMonitor Spreadsheet matches the files on the Hard Drive merely because the listed hash

   values are the same, (id. at 15-18, 23-24). Putting aside the veracity of Plaintiffs’ litigation position,

   Bahun’s statement “                                      ” is simply not synonymous with “identical

   files.” That is because the “                  ” were destroyed so no copies could be made of them.

   Opp’n at 7, 25; Ex. 17 (Charter ECF 408) at 1. And Plaintiffs’ failure to retain the

         necessitated the 2016 SOW, pursuant to which they searched for and redownloaded the files

   on the Hard Drive that they now wrongly claim are copies. Mot. at 10-11. These are facts that Cox,

   the Court, and the jury were entitled to hear, and Plaintiffs had no right to withhold them until they

   needed to defend a Rule 60 motion.

           Plaintiffs also argue that the issue of matching hash values between files was repeatedly

   put before the jury. Opp’n at 16. But Plaintiffs fail to acknowledge that the jury heard a

   substantively different presentation of the issue from what Plaintiffs’ evidence actually reflected,



                                                       9
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 14 of 26 PageID# 34551




   which has only been revealed after the verdict. As set forth below, Plaintiffs’ trial narrative that

   they sent notices based on the verification of the files that were in evidence was false. The

   MarkMonitor Spreadsheet contained verifications of files that were destroyed—not the files on the

   Hard Drive. Mot. at 6-8. The Hard Drive files had no verifications—because after they were

   downloaded in 2016, the post-hoc verification data for those files also was destroyed. Id. at 4-6.

   Because of Plaintiffs’ misrepresentations, the jury heard none of this.

          Second, Plaintiffs do not dispute that the 2016 SOW was entered in “anticipation of

   litigation.” Opp’n at 9. And Plaintiffs have pointed to their execution of that agreement as the event

   that triggered their legal duty to preserve documents for this and their other ISP litigations. Opp’n

   at 9. When Cox moved for sanctions against Plaintiffs on the basis that they had spoliated evidence,

   Plaintiffs elicited testimony from Bahun that “

                                                         .” Opp’n at 20. That is not “ambiguous,” as

   Plaintiffs claim (id.)—it is false in light of the 2016 SOW.

                          b.      Plaintiffs Falsely Represented that There Were No Subsequent
                                  Efforts to Validate the MarkMonitor Spreadsheet

          The Court precluded Cox from introducing into evidence a version of the MarkMonitor

   Spreadsheet that included additional columns of data, which Cox argued demonstrated that

   Plaintiffs had failed to verify a large number of the works for which they sent notices. Mot. 7-8,

   27-28. At the hearing on that motion, in response to the Court’s questioning, Plaintiffs’ counsel

   unequivocally stated that there had been no subsequent efforts to verify that data in the

   MarkMonitor Spreadsheet. Id. That also was false. While the parties were addressing the specific

   data at issue in Plaintiffs’ motion in limine,4 Plaintiffs cannot credibly deny that in 2016 they did



   4
    Cox makes that clear when it describes the colloquy as pertaining to “this post-Claims Period
   data”—specifying the data the parties were discussing at that hearing. Mot. at 8 (emphasis added).
                                                    10
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 15 of 26 PageID# 34552




   audit the MarkMonitor Spreadsheet by redownloading and reverifying its listed works. Plaintiffs’

   claim to the contrary—that “there is no indication that that’s the case at all,” (Ex. 12 (Nov. 12,

   2019 Hr’g) 6:9-10)—is unsupportable. Taken as a whole, it is highly misleading.

                            c.     Plaintiffs Wrongfully Concealed the PCAP Files and the Hash
                                   Report

             Plaintiffs claim that “[t]he 2016 PCAP files and Hash Report are incidental to the 2016

   downloads, are outside the scope of the January 25, 2019, discovery order, and do not concern the

   reliability of the MarkMonitor system.” Opp’n at 21. Plaintiffs cite nothing for this ipse dixit. And

   the Charter court has already flatly rejected Plaintiffs’ effort to selectively disclose some fruits of

   the 2016 SOW (the 2016 Hard Drive files), but to withhold the other fruits (the 2016 Hash Report

   and the PCAP files that would have revealed when the audio files were downloaded). Mot at 21,

   n.7.5 The Charter record demonstrates that this information is relevant, and the same is true here.

             Further, Plaintiffs argue that there was no concealment because MarkMonitor produced the

   2016 SOW. Opp’n at 11-12, 24-25. But Plaintiffs nowhere state that the 2016 SOW was produced

   on their behalf or at their direction. And they cite no law that the production of a document by a

   third party somehow absolves a party from complying with a discovery order.

             Further, while Plaintiffs claim that MarkMonitor’s document production was limited, and

   the 2016 SOW indicated that it was entered into pursuant to the Master Agreement and that “the

   services were ‘being provided in anticipation of litigation,’” (Opp’n at 12), other non-responsive

   agreements produced by MarkMonitor at the same time—the type Plaintiffs argued against

   producing to Judge Anderson based on relevance—also referenced the Master Agreement. Mot. at

   15. And with respect to the “anticipation of litigation” point, Plaintiffs had disclaimed any

   relevance to documents created after 2014. Ex. 28 at 16 (Plaintiffs arguing that “Cox’s demand for


   5
       Cox seeks the materials produced in connection with those discovery efforts. See infra at 20.
                                                     11
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 16 of 26 PageID# 34553




   documents after 2014 is unreasonably broad and burdensome. The relevant time period at issue in

   this case is cabined.”) (emphasis added). Plaintiffs also ignore Cox’s argument that their failure to

   produce the 2016 SOW—including after Cox sought an assurance of the completeness of their

   production—was tantamount to an affirmative representation that the 2016 SOW was not relevant

   to this case. Mot. at 15, 23. Cox was entitled to rely on that representation to confirm compliance

   with a Court-ordered production.

                          d.      Plaintiffs Wrongfully Concealed the 2016 Audible Magic Data

          Plaintiffs also assert that the 2016 Audible Magic data “did not conceal the 2016 SOW.”

   Opp’n at 22. But Cox argues that Plaintiffs wrongfully withheld the fact that they retained

   MarkMonitor and Audible Magic to verify 2016 downloads for use in their lawsuits—an action

   that is directly contrary to their repeated assertions that such a step is unnecessary. Id. at 15, 23.

   Plaintiffs again criticize Cox for “its refrain that the purpose of the 2016 project was to ‘verify

   evidence ….’” Id. at 22. Plaintiffs argue that the 2016 project’s true “purpose was to gather audio

   files with hashes corresponding to earlier notices for use in litigation.” Id. But Plaintiffs fail to

   address the fact that they did not merely retain MarkMonitor to redownload files but asked

   MarkMonitor to reverify those files with Audible Magic. Thus, the creation of the 2016 Audible

   Magic records and the fact that they were destroyed were discoverable. Plaintiffs’ failure to

   disclose these facts was misconduct.

          B.      Plaintiffs Elicited False and Misleading Testimony at Trial

          The trial record demonstrates that Plaintiffs’ witnesses misrepresented the provenance of

   the files on the Hard Drive. Plaintiffs’ efforts to contort the record to paint the testimony as

   “confused” and “vague” fail.




                                                    12
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 17 of 26 PageID# 34554




                   1.      Plaintiffs’ Expert Provided Misleading Testimony, Which Plaintiffs
                           Failed to Correct

           Plaintiffs do not dispute that their expert Barbara Frederiksen-Cross testified that the Hard

   Drive files were copies of the files “associated with the known infringing hashes, the ones that

   have been verified;” “[that] would have been fingerprinted at some point in time and gone to

   Audible Magic;” and “were downloaded, matched, …[and] all saved to the hard drive.” Mot at 19.

   However, the files on the Hard Drive were not copies of the files that were verified before notices

   were sent, as Frederiksen-Cross described. They were different files downloaded years later that

   Plaintiffs now claim share the same content. See supra at 8-11. And to the extent Plaintiffs believe

   that Fredericksen-Cross’s testimony is accurate because the Hard Drive files technically were

   downloaded and verified in 2016, they wrongfully withheld that key fact from Cox, the Court, and

   the jury. In any event, those verifications were not in evidence, as they were destroyed—another

   fact that Plaintiffs withheld. Id.

                   2.      Bahun Falsely Testified Regarding the Origin of the Hard Drive Files

           First, Plaintiffs concede that Bahun provided inaccurate testimony. Opp’n at 18. Cox’s

   counsel clearly asked “when [the files on the Hard Drive] were stored on [MarkMonitor’s]

   system.” Ex. 7 (Trial Tr.) 708:13-24. The truth, which Bahun knew, is March 2016. However,

   Bahun falsely responded “different dates,” “throughout the course of the time period we are talking

   about,” which was before notices were sent between 2012 and 2014. Id. He elaborated that “some

   of them” were stored on MarkMonitor’s “system when they were first downloaded from the

   Internet”—that is, again, before notices were sent between 2012 and 2014. Id.; see also id. 709:15-

   16. This testimony followed the clear and natural progression of his cross examination, which

   solely concerned the files on the Hard Drive. Plaintiffs’ claim that Bahun believed he was being




                                                    13
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 18 of 26 PageID# 34555




   asked about an entirely different set of files that he knew no longer existed (Opp’n at 18), is

   baseless.

           Conceding that this testimony was inaccurate, Plaintiffs argue that Bahun actually offered

   the testimony that Cox states was withheld. Opp’n at 18. Plaintiffs are wrong. Plaintiffs claim that

   Bahun “described MarkMonitor ‘find[ing]’ the Hard Drive files on multiple P2P networks ‘[a]t

   the time when we loaded these [files] onto the drive.’” Id. But this testimony was offered in

   response to a question from Plaintiffs’ counsel about why the Hard Drive did not have any files

   from the Gnutella network. Id. And all Bahun was explaining is that files with the same hash value,

   whether originally sourced from the Gnutella or BitTorrent networks, are the same files. So, in

   Bahun’s own words, when MarkMonitor “loaded these [files] onto the drive” in 2016, it did not

   need to put any in the Gnutella folder as they were otherwise included from BitTorrent folder. Id.

   Bahun’s testimony regarding the composition of the Hard Drive, and the absence of any files in

   the Gnutella folder, has nothing to do with when the Hard Drive files were first downloaded and

   placed on MarkMonitor’s system. The only time that question was asked and answered was on

   cross-examination, the following day, and 50 transcript pages later, when Bahun falsely stated that

   the Hard Drive files were downloaded before notices were sent between 2012-2014.

   III.    Plaintiffs’ Actions Clearly Prevented Cox from Fully Presenting its Case at Trial

           A.      Plaintiffs’ About-Face in Charter Demonstrates the Prejudice to Cox from
                   Their Misconduct.

           Plaintiffs’ primary argument in opposition is that “[t]he download date of a particular copy

   of that file does not change” that “copies of files with the same hash value are identical.” Opp’n at

   24. But in Charter, following the revelation that Plaintiffs failed to retain both (i) the original files

   MarkMonitor verified before sending notices (the verifications of which are contained in the

   MarkMonitor Spreadsheet) and (ii) the verifications of the files they downloaded in 2016 (which


                                                      14
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 19 of 26 PageID# 34556




   files are contained on the Hard Drive), Plaintiffs elected to reverify (now for at least the third time)

   files with “the same hash value.” See supra at 8-11. A step they claim is unnecessary. Opp’n at 15,

   23. To accomplish this reverification, Plaintiffs have hired seven putative experts to “conduct a

   critical listening analysis comparing the audio recordings at issue” to “confirm[] each of Plaintiffs’

   works was copied …” in the Hard Drive files. Ex. 31 (Charter ECF 590-13), ¶ 14. Plaintiffs have

   also hired a New York University music professor to conduct “waveform and spectrogram

   analysis” in addition to “critical listening.” Id. ¶ 15. Plaintiffs have thus abandoned the

   MarkMonitor Spreadsheet and its purported verifications—a centerpiece of their trial evidence in

   this case. They have also undermined the claimed interchangeability of files and verifications—a

   position directly contrary to both their trial strategy and opposition to Cox’s instant motion. This

   development alone demonstrates that Cox was prevented from fully presenting its case at trial.

          B.      Plaintiffs’ Misconduct Resulted in the Admission of Evidence Elemental to
                  their Claims

          Plaintiffs also claim that whether or not they committed any misconduct or made any

   misrepresentations, it had no bearing on Cox’s defense—“no harm, no foul.” That is not how the

   law works. But, as the record here and in Charter plainly reflect, Plaintiffs’ misrepresentations

   resulted in significant harm. The Court based two significant evidentiary rulings on Plaintiffs’

   misrepresentations. The evidence subject to those rulings were elemental to Plaintiffs’ proof of

   direct infringement. There is no question that a different outcome on admission or exclusion of

   that evidence would have materially affected Plaintiffs’ presentation of their case. Plaintiffs’

   misconduct therefore greatly prejudiced Cox’s ability to fully and fairly present its defense.

                  1.      Plaintiffs’ Misconduct Led to the Preclusion of an Alternate Version
                          of the MarkMonitor Spreadsheet

          The Court sustained Plaintiffs’ objection to Cox’s proffered admission of an alternate

   version of the MarkMonitor Spreadsheet that contained data raising issues about the reliability of

                                                     15
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 20 of 26 PageID# 34557




   the MarkMonitor system. Mot. at 28. The Court did so because Plaintiffs certified that “there is no

   indication … at all” that MarkMonitor elicited the document’s post-Claims Period data from

   Audible Magic for “the purpose [of] go[ing] back and look[ing] at the accuracy of the

   MarkMonitor documents or information.” Id. However, if the Court had known that the

   MarkMonitor Spreadsheet that was admitted did not represent verifications of the files on the Hard

   Drive but versions they had failed to retain, and that Plaintiffs had indeed redownloaded and

   reverified those files after the Claims Period but those verification had also been destroyed, it may

   have overruled the objection and allowed the admission of the exhibit. Plaintiffs fail to even

   address this argument.

          Plaintiffs also claim that even if they had told the truth “the data in the MarkMonitor

   Spreadsheet are properly authenticated business records” and “admissible … without regard to any

   Hard Drive files.” Opp’n at 24. But again, Plaintiffs did not admit the MarkMonitor Spreadsheet

   “without regard to any Hard Drive files.” They obtained its admission based on their

   representations that it contained the verifications of the files contained on the Hard Drive. Mot. at

   8. Plaintiffs’ strident assertion rings hollow in light of their abandonment of the MarkMonitor

   Spreadsheet in Charter. Further, even if the MarkMonitor Spreadsheet were admissible—a

   dubious proposition—its weight would have been considerably lower given the revelation that it

   contains verification of files that no longer exist. Plaintiffs also ignore this argument.

                  2.        Plaintiffs’ Misconduct Led to the Admission of the Hard Drive

          As Cox demonstrated in its opening brief, Plaintiffs’ misconduct prevented Cox from

   arguing to the Court that the Hard Drive contained files that were “not those used to generate the

   [infringement] notices.” Mot. at 26. Plaintiffs have no answer, beyond their refrain that “copies of

   files with the same hash are identical.” Opp’n at 23-24. As discussed above, that argument falls

   apart in light of Plaintiffs’ abandonment of the MarkMonitor Spreadsheet and election to reverify
                                                     16
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 21 of 26 PageID# 34558




   (again) the Hard Drive files through the use of music experts in Charter. See supra at 14-15. And

   for the same reason, Plaintiffs have no basis to argue that the Court’s ruling on the admissibility

   of the Hard Drive would have remained the same.

          At trial, Cox sought to preclude the admission of the Hard Drive on the basis that its 2016

   metadata undermined its foundation. Mot. at 5-6. In response, the Court stated that “[j]ust the

   timing of when” the drive was created “doesn’t make it any more or less reliable.” Id. at 6. That

   prompted Cox to ask when the files on the Hard Drive were first downloaded and placed on its

   system. Id. Bahun falsely testified that it was during the period before notices were sent—not in

   2016. Id. That misrepresentation was coupled with Plaintiffs’ counsel’s statement at sidebar that

   “[e]very one of the files went through Audible Magic, which did essentially the equivalent of a

   digital listening.” Ex. 7 (Trial Tr.) 647:16-21. But of course, that was only half true. The files on

   the Hard Drive did go through Audible Magic, though those verifications were destroyed. The

   verifications contained on the MarkMonitor Spreadsheet were for files that also were destroyed.

   Neither the Court nor the jury was told any of this.

                  3.      Cox Is Not Using Rule 60(b)(3) as a Tool for Reconsideration

          Cox has made clear in its moving brief and on reply that Plaintiffs’ multiple

   misrepresentations and discovery misconduct greatly infected the proceedings both before and at

   trial. Supra at 8-11; Mot. at 25-28. Cox is not seeking reconsideration of any issue previously

   decided by the Court based on the evidence that was before the Court—or, for that matter, the

   evidence available to Cox at the time. Cox requests that the Court vacate the judgment so that Cox

   can retry its defense with the evidence that Plaintiffs withheld. On remand, should similar disputes

   arise, the Court would have the benefit of a complete factual record when ruling.




                                                    17
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 22 of 26 PageID# 34559




   IV.    Cox Presented Meritorious Defenses at Trial

          Plaintiffs argue that Cox has not cited any evidence for how the “dates of download for the

   Hard Drive files … will move the needle at all in its favor for a new trial.” Opp’n at 27. But Cox’s

   motion is not only based on the dates of the Hard Drive files. It is also based on the admissibility

   of both the Hard Drive and the MarkMonitor Spreadsheet. Mot. at 29. And there can be no dispute

   that these pieces of evidence were elemental to Plaintiffs’ direct infringement case. Id. at 3, 25-28.

   Plaintiffs describe these documents as “the information concerning the infringement of the

   copyrighted works in suit by their subscribers” (id. at 14), and argued that preclusion of the

   MarkMonitor Spreadsheet would be dispositive, (Ex. 36 (Sept. 27, 2019 Hr’g Tr.) 75:22-76:3).

          In a further effort to minimize this evidence, Plaintiffs claim that they created the Hard

   Drive merely to “enable a jury to listen to copies of the files bearing the same hashes as those in

   Plaintiffs’ notices, as well as provide Cox the opportunity to review the contents of those infringing

   files.” Opp’n at 9. But Plaintiffs’ expert George McCabe relied on the presence of a file on the

   Hard Drive to render his opinion that each work-in-suit was infringed by a Cox subscriber. Mot.

   at 8.6 And Plaintiffs argued that Cox should be held secondarily liable for those infringements.

          Further, even if the Hard Drive and the MarkMonitor Spreadsheet were admitted, Cox

   would have been able to use the previously undisclosed information to undermine Plaintiffs’ proof

   of direct infringement. The pre-trial and trial record plainly demonstrate that challenges over

   Plaintiffs’ direct infringement case were vigorously litigated. Both parties elicited testimony from

   experts who closely examined the evidence, and Cox mounted repeated challenges to its



   6
     Plaintiffs take issue with Cox’s characterization of Professor McCabe as an “infringement
   expert.” Opp’n at 8, n.5. Plaintiffs referred to his opinion as a “repeat infringer analysis,” Pls.’ Ex.
   2 (Trial Tr.) 776:5-10, and with respect to his so-called “work in suit analysis,” Professor
   McCabe’s “fourth requirement is that the infringing file is on a hard drive that was created by
   MarkMonitor,” id. 789:3-4. He opined that the works-in-suit met his criteria. Id. 796:20-797:1.
                                                     18
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 23 of 26 PageID# 34560




   admissibility and weight. Supra at 8-11; Mot at 3-8. Moreover, the evidence that would further

   substantiate Cox’s motion are the Charter materials that it presently seeks, many of which have

   been developed in the months preceding Cox’s filing. See infra at 20. With a full record, a jury

   may have found, given Plaintiffs’ claims of secondary infringement that their second-hand

   evidence was a bridge too far. Indeed, that appears to be Plaintiffs’ belief in Charter, given their

   change of tactics there.

   V.     Justice Should Prevail Over Finality

          Cox has demonstrated a sustained pattern of misconduct and misrepresentations that

   greatly undermined the judicial process. In circumstances like these, the public interest in finality

   must give way to justice. Mot. at 29-30. Contrary to Plaintiffs’ assertions, Cox is not seeking a

   “do-over,” and it certainly is not seeking a “perfect trial.” Opp’n at 1, 27-28. Cox seeks to try this

   case based on a record that demonstrates that Plaintiffs re-created their evidence of infringement

   years after the underlying alleged infringement for which they seek to hold Cox secondarily liable

   occurred because they destroyed the contemporaneous evidence. None of Plaintiffs’ cited cases

   involve the types of facts at issue here.7




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    United States v. Villarini, 238 F.3d 530, 536 (4th Cir. 2001) (not applying Rule 60(b)); Ind. Inv.
   Protective League v. Touche Ross & Co., 607 F.2d 530, 534 n.5 (2d Cir. 1978) (same); Columbia
   Commc’ns Corp. v. EchoStar Satellite Corp., 2 Fed. App’x 360, 367 (4th Cir. 2001) (motion filed
   more than 12 months after judgment entered); Marathon Res. Mgmt. Grp., LLC v. C. Cornell, Inc.,
   2020 WL 6370987, at *4 (E.D. Va. Oct. 29, 2020) (motion based on alleged violation of local
   procedural rule).
                                                    19
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 24 of 26 PageID# 34561




   VI.     Exercising the Court’s Authority to Order Discovery is Warranted

           The Court has authority to order discovery in further support of a meritorious Rule 60(b)

   motion. Mot. at 30. That this authority is rarely exercised does not change that fact.8 As set forth

   herein, the present circumstances warrant exercising that authority. The record demonstrates that

   the disclosures in Charter and the additional discovery Cox seeks related to those disclosures bear

   on the weight of Plaintiffs’ direct infringement evidence and case, including the 2016 SOW. In

   addition, as many of these materials were only developed in the months preceding (and in some

   cases, post-dating) Cox’s motion, the request for discovery further demonstrates its timeliness.

                                             CONCLUSION

           For all the foregoing reasons, and those set forth in Cox’s moving brief, Cox respectfully

   requests that this Court enter an indicative ruling under Rule 62.1 stating that it is inclined to grant

   Cox’s motion for relief from the judgment, or—at a minimum—that Cox’s motion raises a

   substantial issue that warrants further consideration by this Court. Further, Cox respectfully

   requests that the Court order Cox’s requested discovery and, to the extent necessary, grant it leave

   to supplement its motion what that discovery.

   Dated: March 2, 2022                                    Respectfully submitted,

                                                           s/ J. Tyler McGaughey
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   8
     Plaintiffs’ cases are inapposite. See Fharmacy Recs. v. Nassar, 2010 WL 11545040, at *2, 4
   (E.D. Mich. Feb. 18, 2010) (denied additional discovery largely because movant had exhibited
   repeated misconduct throughout the litigation); Aldridge v. Corp. Mgmt. Inc., 2021 WL 1521697,
   at *3 (S.D. Miss. Apr. 16, 2021) (denied discovery because the new evidence was found to be
   immaterial).
                                                     20
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 25 of 26 PageID# 34562




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                                           21
Case 1:18-cv-00950-PTG-JFA Document 779 Filed 03/02/22 Page 26 of 26 PageID# 34563




                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 2, 2022, the foregoing was filed and served electronically

   by the Court’s CM/ECF system upon all registered users.

                                                      s/ J. Tyler McGaughey
                                                      J. Tyler McGaughey




                                                 22
